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                 EXHIBIT 9
                              Case 3:18-cv-01023-MPS Document 155-7 Filed 06/12/20 Page 2 of 3

  Message

  From:                     Joe Alala Ill      (JAlala@capitalagroup.com]
  Sent:                     4/25/2016 12:54:26         PM
  To:                       Casey Swercheck          [Casey@capitalagroup.com]
  Subject:                  Re: Sandler




  Joe Alala,      III
  Chairman and CEO
  Chief       Investment Officer
  Capitala Group
  Capitala Finance Corp                 (NASDAQ-CPTA)



              -
   CapitalSouth
  Phone
                              Growth
                     704-376-5502 ext. 24
       www.capitalaproup.com
                                            Fund




  Please forgive any typing or grammatical errors.                                  It   is   |   the operator      who    is challenged    by emails while
  constantly traveling.
  Sent from my iPhone




  Is   that   a good idea?         Don't you think we         need   to be upfront about it? Seems risky to hide                  that


  Casey       Swercheck
  Vice President - Fort Lauderdale Office
  CapitalSouth Partners & Capitala Finance Group
  Casey     @capitalagroup.com
  (O)     954.848.2860
  (M)     215.796.8410




  We   did     not   tell    them. We are using the           names   sandler    provides us on       our   carve   out   list

  Joe Alala,      III
  Chairman and CEO
  Chief       Investment Officer
  Capitala Group
  Capitala Finance Corp                 (NASDAQ-CPTA)



              -
   CapitalSouth
  Phone
                              Growth
                     704-376-5502 ext. 24
       www.capitalaproup.com
                                            Fund




  Please forgive any typing or grammatical errors.                                  It   is   |   the operator      who    is challenged    by emails while
   constantly           traveling.
  Sent    from my iPhone



   Remind       me   again what         Nova   said    about working with Sandler on Fund V? Were they                      OK   with it?




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  Casey Swercheck           |
                                Vice   President
  Capitala    Group
  500   E   Broward Blvd        |
                                    Ste 1710   |
                                                   Fort Lauderdale, Fi    333014

  p   954 848 2860      |
                            m 215 796 8410

      <imageQ0l1.png>           <image002.png>           <image003.png>




CONFIDENTIAL                                                                                   CAP_0029547
